                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ALASKA


    DAVID HEAD, M.D.,

                                 Plaintiff,               Case No. 3:19-cv-00023-TMB

                        v.
                                                     ORDER ON DEFENDANT’S MOTION
    UNITED STATES OF AMERICA,                             TO DISMISS (DKT. 18)

                                 Defendant.



                                        I.    INTRODUCTION

          The matter comes before the Court on the United States’ Motion to Dismiss for Lack of

Jurisdiction (the “Motion”). 1 The United States moves to dismiss Plaintiff Dr. David Head’s First

Amended Complaint (“Amended Complaint”) 2 for lack of subject-matter jurisdiction pursuant to

Fed. R. Civ. P. 12(b)(1). Head opposes the Motion. 3 At Head’s request, 4 the Court heard oral

argument on the Motion on October 9, 2019. 5 The Motion has been fully briefed and is now ripe

for resolution. 6 For the reasons stated below, the United States’ Motion to Dismiss is GRANTED.




1
    Dkt. 18 (Motion).
2
    Dkt. 10 (Amended Complaint).
3
    Dkt. 20 (Response in Opposition).
4
    Dkt. 23 (Motion for Hearing).
5
    Dkt. 34 (Minute Entry for Proceedings).
6
    Dkts. 18, 20, 22 (Reply).

                                                 1

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 1 of 15
                                      II.   BACKGROUND

           Head was the Chief of Staff and Medical Director at Norton Sound Health Corporation

(“NSHC”), a Nome-based tribal health organization, for approximately twenty-nine years. 7

According to Head, this dispute began in 2016 when a NSHC-affiliated physician, Dr. Karen

O’Neill, was suspected of allowing prescriptions for controlled substances to be forged and

circulated. 8 Head claims that he informed the NSHC Board of Directors (“the Board”) that per

NSHC’s policies it could not suspend O’Neill’s privileges without consulting the medical staff. 9

As a result, in 2017, Head claims he was “chastised” by the Board for taking a “less aggressive

approach [which] ultimately led to aligning with Dr. Karen O’Neill rather than [to] follow the

intentions of the [NSHC’s] Board and administration . . . .” 10 Head maintains that the statements

of the Board of Directors, led at the time by Jacob Ivanoff, were “unreasonable and untrue.” 11

Nevertheless, Ivanoff and NSHC’s CEO, Angie Gorn, allegedly placed a “Performance

Improvement Notice” in Head’s personnel file. 12

           Head’s contract was set to expire on April 30, 2018. 13 However, on February 3, 2018,

NSHC paid Head a salary buyout of $97,450.16 and terminated his services. 14 NSHC also



7
    Dkts. 10 at 2, 18 at 2.
8
    Dkt. 10 at 3.
9
    Id.
10
     Id. at 5.
11
     Id. at 4.
12
     Id. at 5.
13
     Id. at 6.
14
     Id.

                                                 2

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 2 of 15
terminated Head’s privileges at the NSHC hospital, which, Head asserts, makes it impossible for

him to work as a physician in Nome. 15 Additionally, Head alleges that NHSC issued certain press

releases after his contract was terminated. 16 Head claims that these press releases were intended to

inflict damage to his professional reputation and harm him economically. 17

           Likewise, Head claims that by terminating him, NHSC, Ivanoff, and Gorn intentionally—

or at least negligently—caused him to suffer emotional distress. 18 Lastly, Head claims that by

failing to extend his contract upon false grounds, falsely implying that he was “aligned” with a

doctor accused of wrongdoing, and terminating his privileges, NSHC, Ivanoff, and Gorn “breached

the covenant of good faith and fair dealing which inures in every contract of employment entered

into in Alaska.” 19

           On January 30, 2019, Head filed a Complaint against NSHC, Ivanoff, and Gorn. Head’s

original Complaint raised three claims for relief against the NSHC, Ivanoff, and Gorn arising out

of his termination: (1) “Damage to [his] Reputation,” (2) “Intentional and Negligent Infliction of

Emotional Distress,” and (3) “Breach of the Covenant of Good Faith and Fair Dealing.” 20 NSHC,

Ivanoff, and Gorn filed a Motion to Dismiss for Lack of Subject-Matter Jurisdiction on March 15,

2019. 21 They asserted that NSHC, Ivanoff, and Gorn were deemed to be federal employees acting



15
     Id.
16
     Id. at 7.
17
     Id. at 7. The pleadings do not describe the contents of the press releases with any specificity.
18
     Id. at 7‒8.
19
     Id. at 8.
20
     Dkt. 1 at 7–9 (Complaint).
21
     Dkt. 6 (NSHC, Ivanoff, and Gorn’s Motion to Dismiss).

                                                    3

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 3 of 15
pursuant to the Indian Self-Determination and Education Assistance Act (“ISDEAA”). 22

Therefore, they argued, the claims could only properly be brought against the United States under

the Federal Torts Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b) and 2671-80. 23

           Before the Court could rule on NSHC, Ivanoff, and Gorn’s Motion to Dismiss, Head filed

his Amended Complaint on April 5, 2019. 24 The Amended Complaint removed the original

defendants and named only the United States as defendant. 25 Head now seeks damages from the

United States on the three claims for relief raised in Head’s original Complaint—i.e. (1) damage

to Head’s reputation, (2) intentional and negligent infliction of emotional distress, and (3) breach
                                                                                         26
of the covenant of good faith and fair dealing implied in Head’s employment contract.

           On July 15, 2019, the United States filed the present Motion pursuant to Fed. R. Civ. P.

12(b)(1). 27 The United States makes a facial challenge to the Court’s subject matter jurisdiction

over any of Head’s claims. 28 It argues that, even assuming the truth of Head’s claims, his suit is

barred by federal sovereign immunity. 29 Specifically, the United States contends that each of

Head’s claims are barred under the “intentional torts exception” to the FTCA or as claims which


22
  25 U.S.C. § 5301 et seq, Dkt. 7 at 4 (Memorandum in Support). It is undisputed that, at all times
relevant to Head’s claims, the acts or omissions of NSHC and its employees were acts or omissions
of an employee of the United States Department of Health and Human Services. Dkts. 27
(Response to Order), 31 (Supplement by David Head).
23
     Dkt. 7 at 4.
24
     Dkt. 10.
25
     Id. at 1.
26
     Id. at 7–9.
27
     Dkt. 18.
28
     Id. at 4.
29
     Id. at 5.

                                                  4

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 4 of 15
otherwise arise out of barred claims. 30 The Motion was fully briefed by the Parties and the Court

held oral argument on the Motion on October 9, 2019. 31

                                    III.   LEGAL STANDARD

          “The question whether the United States has waived its sovereign immunity against suits

for damages is, in the first instance, a question of subject matter jurisdiction.” 32 A party may seek

dismissal of an action for lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1). In order

to survive a defendant’s motion to dismiss, the plaintiff has the burden of proving jurisdiction.33

A Rule 12(b)(1) motion may raise a facial or factual challenge to the court’s subject matter

jurisdiction. 34 A facial challenge is directed at the legal sufficiency of a claim. 35 When assessing

a Rule 12(b)(1) facial challenge to the court’s subject matter jurisdiction, the court “assume[s]

[movant’s] allegations to be true and draw all reasonable inferences in [their] favor.” 36 “The court

will not dismiss a claim under 12(b)(1) unless it appears without any merit.” 37




30
     Dkt. 18 at 5.
31
     Dkt. 34 (Minute Entry for Hearing on Motion to Dismiss).
32
     McCarthy v. United States, 850 F.2d 558, 560 (9th Cir. 1988).
33
  Tosco v. Cmtys. for a Better Env't, 236 F.3d 495, 499 (9th Cir. 2000); McCarthy v. United States,
850 F.2d 558, 560 (9th Cir. 1988).
34
  Mitchell v. U.S. Dep’t of Air Force, No. 3:10-CV-00263-TMB, 2012 WL 12919216, at *2 (D.
Alaska Mar. 23, 2012), aff’d sub nom. Mitchell v. U.S. Dep't of the Air Force, 540 F. App’x 600
(9th Cir. 2013) (citing James W. Moore, Moore's Federal Practice, § 12.30[4] at 12-38 (3d ed.
1977) (“Moore”)).
35
     Id.; Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).
36
     Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004).
37
  Alaska Right to Life Political Action Comm. v. Feldman, No. A04-0239CV (RRB), 2005 WL
1862372, at *1 (D. Alaska July 26, 2005) (citing Moore, § 12.30[4] at 12–38 n. 12).

                                                  5

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 5 of 15
                                           IV.    ANALYSIS

           Head asserts three claims for relief against the United States: (1) damage to his reputation,

(2) intentional and negligent infliction of emotional distress, and (3) breach of the covenant of

good faith and fair dealing. 38 The United States makes a facial challenge to the Court’s subject-

matter jurisdiction over any of Head’s claims. 39 It argues that, even assuming the truth of the

Head’s claims, his suit is barred by federal sovereign immunity. 40

           “It is well settled that the United States is a sovereign, and, as such, is immune from suit

unless it has expressly waived such immunity and consented to be sued.” 41 Courts must strictly

construe the scope of any waiver of sovereign immunity in favor of the United States. 42 If a

plaintiff lacks a specific waiver of sovereign immunity for his claim against the United States, then

the suit fails for want of subject matter jurisdiction. 43

           Under the FTCA, the United States has provided a limited waiver of its sovereign

immunity. 44 Excepting certain claims, the FTCA provides that the United States may be found

liable in a tort action “in the same manner and to the same extent as a private individual under like

circumstances.” 45 Consequently, courts only have jurisdiction over tort actions against the United



38
     Dkt. 10 at 7–9.
39
     Dkt. 18 at 4.
40
     Id. at 4–5.
41
     Orff v. United States, 358 F.3d 1137, 1142 (9th Cir. 2004) (quotations omitted).
42
     Id.
43
     Id.
44
     28 U.S.C. § 2674.
45
     Id.

                                                    6

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 6 of 15
States “under circumstances where the United States, if a private person, would be liable to the

claimant in accordance with the law of the place where the act or omission occurred.” 46

Accordingly, to determine whether a court has jurisdiction over claims against the United States,

it must assess whether the plaintiff’s claim is one which falls within the scope of FTCA’s waiver.

The Court looks to each of Head’s claims in turn.

      A. Whether Head’s Claim for “Damage to [his] Reputation” Falls Outside of the Federal
         Torts Claims Act’s Waiver of Sovereign Immunity

          Head alleges that by declining to renew his contract and issuing certain press releases,

NSHC, Ivanoff, and Gorn caused injury to his professional reputation. 47 The United States

recognized in briefing and at oral argument that “damage to reputation” is not a claim that is

explicitly excepted from the FTCA. 48 However, the United States argues that Head’s claim is an

incognito defamation claim, which is expressly barred by the FTCA. 49 Head did not advance any

arguments in his Response or at oral argument to refute the United States’ contention or to support

his “damage to reputation” claim as justiciable under the FTCA.

          The FTCA provides that its waiver of sovereign immunity generally does not apply to

“[a]ny claim arising out of assault, battery, false imprisonment, false arrest, malicious prosecution,

abuse of process, libel, slander, misrepresentation, deceit, or interference with contract rights[.]”50

To discern whether a claim “arises out of” one of the FTCA’s enumerated torts, courts must look



46
     28 U.S.C. § 1346(b)(1).
47
     Dkt. 10 at 7.
48
     Dkts. 18 at 5; 34.
49
     Dkt. 18 at 5–8.
50
     28 U.S.C. § 2680(h).

                                                  7

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 7 of 15
beyond a plaintiffs’ classification of the cause of action and determine “whether the conduct upon

which the claim is based constitutes one of the torts listed in § 2680(h).” 51 Courts will not allow

plaintiffs to circumvent sovereign immunity by creatively pleading barred claims. 52 The FTCA

expressly bars defamation suits against the United States. 53 Under Alaska law, “[t]he elements of

a defamation claim are: (1) a false and defamatory statement; (2) unprivileged publication to a

third party; (3) fault amounting at least to negligence; and (4) either per se actionability or special

reputation of another so as to lower [the plaintiffs] in the estimation of the community or deter

third persons from associating or dealing with” the plaintiffs. 54

           Here, Head alleges “damage to [his] reputation.” 55 He claims the United States should be

held liable for terminating his professional service contract and subsequently publishing press

releases “defaming his reputation.” 56 For reasons discussed below, to the extent Head’s damage to

reputation claim relies on his allegation that NSHC, Ivanoff, and Gorn wrongfully terminated his

professional service contract, his claim is barred under the FTCA as arising from an employment




51
  Sabow v. United States, 93 F.3d 1445, 1456 (9th Cir. 1996), as amended (Sept. 26, 1996) (citing
Mt. Homes, Inc. v. United States, 912 F.2d 352, 356 (9th Cir. 1990) (“[W]e look beyond [the
complaint's] characterization [of the cause of action] to the conduct on which the claim is based.”)
and Thomas–Lazear v. Federal Bureau of Investigation, 851 F.2d 1202, 1207 (9th Cir. 1988)
(“This circuit looks beyond the labels used to determine whether a proposed claim is barred [by
the intentional torts exception]”)).
52
     Id. See, e.g., Hoesl v. United States, 629 F.2d 586, 587 (9th Cir. 1980)
53
   28 U.S.C. § 2680(h) (providing that the FTCA does not extend to claims arising out of “libel”
or “slander”). Sabow, 93 F.3d at 1456.
54
     Alaska v. Carpenter, 171 P.3d 41, 51 (Alaska 2007)
55
     Dkt. 10 at 7.
56
     Id.

                                                   8

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 8 of 15
contract claim. 57 Additionally, Head’s allegations related to the press releases align squarely with

a defamation claim. First, he alleges the falsity of information used and published by those at

NSHC. 58 Second, he alleges that—through press releases—the information was published to the

community at-large. 59 Third, he alleges this was done intentionally. 60 Fourth, he alleges that the

published information related directly to his reputation as a physician in the community, which is

actionable per se. 61 Head’s claim, despite what he chooses to call it, is a defamation claim barred

under the FTCA.

           Accordingly, the United States’ Motion to Dismiss as to Head’s first claim for relief is

GRANTED.

      B. Whether Head’s Claims for Infliction of Emotional Distress Fall Outside of the Federal
         Torts Claims Act’s Waiver of Sovereign Immunity

           Head alleges that because NSHC, Ivanoff, and Gorn declined to renew his contract and

“defam[ed]” his character and competency, the United States is liable for intentional infliction of

emotional distress (“IIED”) or, alternatively, negligent infliction of emotional distress (“NIED”

or, collectively “IIED/NIED”). 62 The United States advances two arguments for dismissing Head’s




57
     Infra Section C.
58
     Dkt. 10 at 4.
59
     Id. at 7.
60
     Id.
61
  Id. See Greene v. Tinker, 332 P.3d 21, 39 (Alaska 2014) (quoting Restatement (Second) of Torts
§§ 570, 573 (1977)) (holding that among the categories of publications that are defamatory per se
are statements that impute to the plaintiff “conduct . . . that would adversely affect his fitness for
the proper conduct of his lawful business, trade or profession.”).
62
     Dkt. 10 at 7–8.

                                                  9

            Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 9 of 15
second claim. 63 First, that Head’s IIED/NIED claims “arise out of” torts barred under the FTCA. 64

Second, that a private party in a similar situation would not be liable because Head’s pleadings fail

to state the claims. 65

           As above, the courts must look beyond a plaintiff’s classification of the cause of action and

determine “whether the conduct upon which the claim is based constitutes one of the torts listed

in § 2680(h).” 66 Courts will not allow plaintiffs to circumvent sovereign immunity by creatively

pleading barred claims. 67 Claims for IIED/NIED are not barred, per se under the FTCA. 68

However, courts have barred IIED/NIED claims for relying too closely on allegations of

defamation. 69 For instance, in Thomas-Lazear, the court found that where “the Government’s


63
     Dkt. 18 at 10.
64
     Id.
65
   Id. The Court is not persuaded that the United States’ second argument is properly brought as a
motion to dismiss under Rule 12(b)(1) rather than a motion to dismiss under 12(b)(6). The
argument does not address whether the Court categorically lacks jurisdiction to hear such claims
under the FTCA but instead looks to whether in this particular instance Head has adequately stated
the claim. Nevertheless, the Court finds it unnecessary to make a determination on the United
States’ second argument because, as discussed below, Head’s IIED/NIED claims arise out of
barred claims. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94 (1998). (holding
a court must decide subject-matter jurisdiction before addressing matters under 12(b)(6)).
66
  Sabow, 93 F.3d at 1456 (citing Mt. Homes, Inc., 912 F.2d at 356 (“[W]e look beyond [the
complaint's] characterization [of the cause of action] to the conduct on which the claim is based.”)
and Thomas–Lazear, 851 F.2d at 1207 (“This circuit looks beyond the labels used to determine
whether a proposed claim is barred [by the intentional torts exception]”)).
67
     Id. See e.g., Hoesl, 629 F.2d at 587.
68
  Sabow, 93 F.3d at 1454–57. See also Gasho v. United States, 39 F.3d 1420, 1436 (9th Cir. 1994);
Sheehan v. United States, 896 F.2d 1168, 1172 (9th Cir. 1990), amended, 917 F.2d 424 (9th Cir.
1990).
69
   See, e.g., Davenport v. United States Dep't of Homeland Sec., No. CV18-00625-PHX-DGC,
2018 WL 6181240, at *2 (D. Ariz. Nov. 27, 2018) (dismissing “[p]laintiff’s claims for slander,
libel, misrepresentation, and deceit, and all claims arising from the same conduct [i.e. defamation,
negligence, harassment, and intentional and negligent infliction of emotional distress]”);
                                                    10

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 10 of 15
actions that constitute a claim for slander are essential to [plaintiff’s] claim for negligent infliction

of emotional distress” the claims arise out of barred intentional torts. 70 In other words, if the

conduct which gives rise to a claim of defamation is stricken from the complaint and leaves “no

other government conduct upon which [a claim] can rest,” the entire claim arises out of defamation

and is barred. 71

           Here, Head alleges that by “defaming [his] character and competency” NSHC caused Head

to suffer emotional distress. 72 An IIED/NIED claim based on defamatory statements attributable

to the United States necessarily arises from defamation. Head cannot, therefore, rely on NSHC’s

publishing of allegedly defamatory statements to support his IIED/NIED claim. However, Head

also alleges that by failing to renew his employment NSHC caused him to suffer emotional

distress. 73 This allegation may be independent from those which constitutes defamation. However,

for reasons discussed below, Head’s IIED/NIED claim, to the extent that it relies on a wrongful

termination theory, is barred under the FTCA as arising from a contract claim. 74 Therefore, both

allegations contained within Head’s IIED/NIED claim arise from barred claims under the FTCA.



Powerturbine, Inc. v. United States, No. 3:14-CV-0435-CAB-BLM, 2014 WL 12160753, at *13
(S.D. Cal. Dec. 15, 2014) (holding “because the negligence, IIED, and privacy claims arise from
this alleged defamation, the claims are barred under section 2680(h)”). Cf. Michel v. United States,
No. 16CV277-GPC-AGS, 2017 WL 5067608, at *17 (S.D. Cal. Oct. 31, 2017), reconsideration
denied, No. 16CV277-GPC-AGS, 2018 WL 840175 (S.D. Cal. Feb. 13, 2018) (holding that an
IIED/NIED claim is barred under the FTCA where it relies on facts that support a false
imprisonment claim which is expressly barred under the FTCA).
70
     Thomas–Lazear, 851 F.2d at 1207.
71
     Id.
72
     Dkt. 10 at 7–8.
73
     Id.
74
     Infra Section C.

                                                   11

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 11 of 15
          Accordingly, the United States’ Motion to Dismiss as to Head’s second claim for relief is

GRANTED.

      C. Whether Head’s Claim for Breach of the Covenant of Good Faith and Fair Dealing Falls
         Outside of the Federal Torts Claims Act’s Waiver of Sovereign Immunity

          Head alleges that by: (1) declining to re-employ him upon false grounds, (2) falsely stating

that he was “aligned” with a doctor accused of impropriety, and (3) “ousting” him from the

hospital, NSHC, Ivanoff, and Gorn “breached the implied covenant of good faith and fair dealing

which inures in every contract . . . .” 75 The United States argues that this is a contract claim barred

by the FTCA. 76 In response, Head argues that Alaska law considers a claim for the breach of the

covenant of good faith and fair dealing an independent tort claim. 77

          The FTCA expressly bars contract claims against the federal government. 78 Generally, to

determine whether a particular claim sounds in contract or in tort, courts apply state law.79




75
     Dkt. 10 at 8.
76
     Dkt. 18 at 8–10.
77
     Dkt. 20 at 9–12.
78
  28 U.S.C.A. § 1346(a)(2) (“[T]he district courts shall not have jurisdiction of any civil action or
claim against the United States founded upon any express or implied contract with the United
States or for liquidated or unliquidated damages in cases not sounding in tort . . .”).
79
   LaBarge v. Mariposa Cty., 798 F.2d 364, 366 (9th Cir. 1986) (The FTCA “direct[s] the courts
to analogize the government to a private actor in a similar situation and apply state law to determine
amenability to suit and substantive liability.”). Compare Love v. United States, 915 F.2d 1242,
1247 (9th Cir. 1989), abrogated on other grounds by DaVinci Aircraft, Inc. v. United States, 926
F.3d 1117 (9th Cir. 2019) (holding that where Montana courts had held that the breach of the duty
of good faith was a separate tort, it was a cognizable claim under the FTCA) with Winchell v. U.S.
Dep't of Agric., 961 F.2d 1442, 1444 (9th Cir. 1992) (holding that, despite Love, where Montana
had begun to categorize the breach of the duty of good faith as a contract claim, the claim no longer
could be brought under the FTCA).

                                                  12

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 12 of 15
Therefore, the question becomes whether Alaska courts find that a claim for the breach of the

covenant of good faith and fair dealing sounds in tort or contract.

           Here, the parties dispute how Alaska law categorizes Head’s claim. 80 Specifically, the

parties disagree about how this Court should interpret the Alaska Supreme Court’s decision in

ARCO Alaska, Inc. v. Akers. 81 In that case, the plaintiff sued his former employer, claiming that

the circumstances of his termination breached the covenant of good faith and fair dealing in his

employment contract. 82 The jury returned a verdict against his employer which included punitive

damages—a remedy ordinarily reserved for tort claims. 83 The court noted that under Alaska law

“[p]unitive damages are not recoverable for breach of contract unless the conduct constituting the

breach constitutes an independent tort.” 84 Therefore, the question for the ARCO Court was whether

“breach of the covenant of good faith and fair dealing…constitutes a tort as well as a breach of

contract.” 85 The Supreme Court of Alaska held that “it does not.” 86

           Head challenges this reading of the ARCO decision. 87 Head appears to center his argument

on the ARCO Court’s comment, “[w]here a party’s conduct in breaching a contract rises to the

level of a traditionally recognized tort, such as intentional infliction of emotional distress, an action



80
     Dkt. 18 at 8–10.
81
     753 P.2d 1150 (Alaska 1988). Dkts. 18 at 9; 20 at 9–11.
82
     Id. at 1152–53.
83
     Id. at 1153.
84
     753 P.2d at 1153.
85
     Id.
86
     Id.
87
     Dkt. 20 at 9–11.

                                                   13

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 13 of 15
in tort would lie.” 88 Head seems to argue the breach of the implied covenant of good faith and fair

dealing may give rise to both contract and tort claims. 89

          However, this reading misconstrues ARCO’s fundamental holding that “mere breach of the

implied covenant of good faith and fair dealing…does not constitute a tort.” 90 The language on

which Head relies does not create an exception to this holding. Rather, the ARCO Court noted that

an employer’s conduct in breaching the implied duty—not the breach itself—may be so egregious

to give rise to a separate tort claim such as IIED. Such a claim would not be merged into breach

of the covenant of good faith and fair dealing, nor would it convert a claim for breach into a

separate tort.

          In his Response and at oral argument, Head also cited State Farm Fire & Cas. Co. v.

Nicholson 91 for the proposition that breach of the covenant of good faith and fair dealing

constitutes a tort under Alaska law. 92 However, that case concerned an insurance contract. 93 When

the Nicholson plaintiffs brought suit against their insurer for breaching its duty to act in good faith

while processing their claims, the jury awarded the plaintiffs compensatory damages and punitive

damage. 94 The Nicholson Court, in order to incentivize insurers to act in good faith with their




88
     753 P.2d at 1154.
89
     Dkt. 20 at 10–11.
90
     753 P.2d at 1154.
91
     777 P.2d 1152, 1156–57 (Alaska 1989).
92
     Dkt. 20 at 12.
93
     777 P.2d at 1152–54.
94
     Id. at 1153.

                                                  14

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 14 of 15
insured, held that “an insurer’s bad faith failure to settle a first-party claim is a tort.” 95 Nicholson’s

holding was limited to the insurance context. 96 In fact, the Nicholson Court explained

          In ARCO . . . we ruled that an employer's breach of the duty of good faith and fair
          dealing implied in an employment contract is a breach of contract which does not
          constitute an independent tort. However, employment contracts are substantially
          different from insurance contracts. Therefore, we do not extend [ARCO] to the
          insurance context. 97

This language clarifies that ARCO does not support Head’s proposition. Furthermore, it shows that

Nicholson did not upset ARCO’s holding but instead limited the tort arising from the breach of the

covenant of good faith and fair dealing to insurance contracts. Therefore, Alaska law classifies

Head’s third claim sounds in contract and, thus, is not properly brought under the FTCA.

          Accordingly, the United States’ Motion to Dismiss as to Head’s third claim for relief is

GRANTED.

                                         V.     CONCLUSION

          For the foregoing reasons, the United States’ Motion to Dismiss at docket 18 is

GRANTED. This case is DISMISSED without prejudice. The Clerk of Court is directed to enter

judgment accordingly.

          IT IS SO ORDERED.

                                          Dated at Anchorage, Alaska, this 28 day of October, 2019.

                                                         /s/ Timothy M. Burgess
                                                         TIMOTHY M. BURGESS
                                                         UNITED STATES DISTRICT JUDGE




95
     Id.at 1157.
96
     Id. at 1154–57.
97
     Id. at 1156.

                                                    15

           Case 3:19-cv-00023-TMB Document 35 Filed 10/28/19 Page 15 of 15
